
24 So.3d 876 (2010)
Gina WILTZ, wife of/and Timothy Wiltz, on behalf of their minor son, Ryan Wiltz
v.
BROTHERS PETROLEUM, L.L.C., Meraux Food Store, Inc., Alex Chevron, Inc., Winn Dixie Montgomery, Inc., Bogue Chitto Canoeing and Tubing Center, Inc., and Infinity Insurance Company c/w Tina Tommaseo
v.
Brothers Petroleum, L.L.C., Meraux Food Store, Inc., Alex Chevron, Inc., Winn Dixie Montgomery, Inc., Bogue Chitto Canoeing and Tubing Center, Inc., c/w Glen Gabb and Cynthia Gabb, individually and on behalf of their deceased daughter, Rachel Gabb
v.
Brothers Petroleum, L.L.C., Meraux Food Store, Inc., Alex Chevron, Inc., Winn Dixie Montgomery, Inc., Bogue Chitto Canoeing and Tubing Center, Inc., Byron Lafontaine and Tina Tommaseo, individually and on behalf of their deceased son, Brian Lafontaine, and Regal Insurance Company.
No. 2009-CC-2400.
Supreme Court of Louisiana.
January 8, 2010.
Denied.
